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11   Attorneys for Plaintiffs Bryan Muehlberger,      and through Attorney General Rob Bonta
     Frank Blackwell, and Giffords Law Center to
12   Prevent Gun Violence

13                                [Additional Counsel Listed on Next Page]
14

15                                 UNITED STATES DISTRICT COURT

16                              NORTHERN DISTRICT OF CALIFORNIA

17                                       SAN FRANCISCO DIVISION

18
      STATE OF CALIFORNIA, et al.,                     CIVIL CASE NO.: 3:20-CV-06761-EMC
19
                           Plaintiffs,
20
                    v.                                 JOINT STATUS REPORT
21
      BUREAU OF ALCOHOL, TOBACCO,                      Action Filed: September 29, 2020
22    FIREARMS AND EXPLOSIVES, et al.,
                                                       Status Conference: April 5, 2022 at 2:30 p.m.
23                         Defendants.

24                                                     Hon. Edward M. Chen

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1           Pursuant to this Court’s October 7, 2021 Order directing the filing of a joint status report (ECF
2    No. 94), Plaintiffs the State of California, Bryan Muehlberger, Frank Blackwell, and Giffords Law
3    Center to Gun Prevent Violence, and Defendants Bureau of Alcohol, Tobacco, Firearms and Explosives
4    (“ATF”), Marvin G. Richardson, Daniel Hoffman, United States Department of Justice, and Merrick
5    B. Garland (collectively, the “Parties”), by and through their respective counsel of record, hereby
6    submit the following:
7           The Parties respectfully request that the Court grant a 30-day continuance of the case
8    management conference currently scheduled for April 5, 2022, at 2:30 p.m. The Parties propose that
9    the Court schedule a case management conference on or after May 5, 2022, with a further joint status
10   report due to the Court one week prior thereto. The Parties believe that a 30-day continuance is
11   appropriate for the following reasons.
12          As the Court is aware, on May 7, 2021, ATF issued a notice of proposed rulemaking titled
13   “Definition of ‘Frame or Receiver’ and Identification of Firearms.” See Definition of “Frame or
14   Receiver” and Identification of Firearms (proposed May 7, 2021) (to be codified at 27 C.F.R. pts. 478
15   and 479) (“Proposed Rule”). The Proposed Rule would result in the clarification of regulatory
16   definitions of “firearm frame or receiver” and “frame or receiver,” as well as the definitions of
17   “firearm” and “gunsmith.”
18          The notice and comment period with respect to the Proposed Rule ended on August 19, 2021.
19   As Defendants reported to the Court at the October 7, 2021 conference, ATF received nearly 250,000
20   comments in response to the Proposed Rule. The Parties met and conferred on March 24, 2022, at
21   which time counsel for Defendants reported that ATF has been working diligently to consider the
22   comments and incorporate them as appropriate into a Final Rule. ATF anticipates that the Final Rule
23   will be published no later than June 2022.
24          Because the Final Rule would alter the regulatory definitions at issue in this litigation, and
25   because the Final Rule is expected to be published by ATF by June 2022, the Parties propose a 30-day
26   continuance of the case management conference currently scheduled for April 5, 2022, at 2:30 p.m.,
27   with a further joint status report due to the Court one week prior thereto. The Parties believe this
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1    modest continuance is appropriate and will help ensure efficiency and judicial economy. The Parties
2    further set forth their respective positions below:
3             Plaintiffs’ Position: Plaintiffs agree that a 30-day continuance of the case management
4    conference is appropriate at this time, and look forward to reviewing the Final Rule as soon as it is
5    published. Ghost guns continue to proliferate throughout the United States, and remain the weapon of
6    choice for criminals and others who would otherwise be prohibited from possessing firearms under
7    federal law. That is especially true in California, where ghost guns now account for 25 to 50 percent
8    of firearms recovered at crime scenes. 1 Plaintiffs understand that ATF received a large number of
                                                  0F




9    comments in response to the Proposed Rule, but are hopeful that the Final Rule will be published within
10   the next 30 days and no later than June 2022.
11            Defendants’ Position: Given that the Proposed Rule would alter regulatory definitions at issue
12   in this case, any Final Rule is likely to affect—and will possibly narrow or moot—the issues in this
13   case. Consequently, for the reasons stated above, Defendants agree with Plaintiffs that continuing the
14   upcoming status conference for 30 days would serve the interests of judicial economy and conserve the
15   resources of the Parties.
16            Consistent with the Parties’ positions in this joint status report, the Parties respectfully request
17   an order from the Court continuing the April 5, 2022 case management conference for 30 days, or for
18   another period as the Court deems appropriate.
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21   Dated: March 29, 2022                              /s/       Avi Weitzman
22                                                      GIBSON, DUNN & CRUTCHER LLP
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          See Glenn Thrush, ‘Ghost Guns’: Firearm Kits Bought Online Fuel Epidemic of Violence, N.Y. TIMES (published
28        Nov. 14, 2021; updated Jan. 26, 2022), available at https://www.nytimes.com/2021/11/14/us/ghost-guns-homemade-
          firearms.html.

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          Case 3:20-cv-06761-EMC Document 102 Filed 03/29/22 Page 5 of 8


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15   Dated: March 29, 2022                     /s/ R. Matthew Wise
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26                                             and through Attorney General Rob Bonta
27   Dated: March 29, 2022                     BRIAN M. BOYNTON
28                                             Principal Deputy Assistant Attorney General
                                               Civil Division

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                             JOINT STATUS REPORT – CASE NO. 3:20-CV-06761-EMC
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1                                      SIGNATURE ATTESTATION
2

3    Pursuant to Local Rule 5-1(i), I hereby attest that concurrence in the filing of the document has been
     obtained from each of the other Signatories.
4

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6    Dated: March 29, 2022                                 /s/   Avi Weitzman
                                                                 Avi Weitzman
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                             JOINT STATUS REPORT – CASE NO. 3:20-CV-06761-EMC
